                                                       Case 15-20991                           Doc 1             Filed 08/06/15                         Page 1 of 24
B1 (Official Form 1) (4/13)
                                                                     United States Bankruptcy Court                                                                                           Voluntary Petition
                                                                            DISTRICT OF MARYLAND
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):
  Economic Development and Training Instit,
   a Corporation
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   52-224-2993                                                                         (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  5625 Allentown Road
   Suite 107
                                                                                               ZIPCODE                                                                                                           ZIPCODE
  Suitland, MD                                                                                 20746
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Prince George's                                                      Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): SAME


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                               Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker            Debts are primarily consumer debts, defined                                                          Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank               in 11 U.S.C. § 101(8) as "incurred by an                                                             business debts.
                                                                                                       individual primarily for a personal, family,
                                                                           Other Economic Development and Train
                                                                                                       or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                                          Case 15-20991                    Doc 1           Filed 08/06/15                      Page 2 of 24
B1 (Official Form 1) (4/13)                                                                                                                                           FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Economic Development and Training Instit,
  (This page must be completed and filed in every case)
                                                                                              a Corporation
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 MARYLAND                                                                            11-1430                                                      03/04/2011
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 MARYLAND                                                                            08-19872                                                     08--01-2008
  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X                                                                                     8/6/2015
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                               Case 15-20991             Doc 1   Filed 08/06/15                  Page 3 of 24
B1 (Official Form 1) (4/13)                                                                                                                           FORM B1, Page   3
 Voluntary Petition                                                                  Name of Debtor(s):
                                                                                      Economic Development and Training Instit,
   (This page must be completed and filed in every case)
                                                                                       a Corporation
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                       I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                       Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                       are attached.
11 U.S.C. §342(b)
                                                                                       Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States             chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                      order granting recognition of the foreign main proceeding is attached.
 X
     Signature of Debtor                                                         X
                                                                                       (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                       (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

                                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                                Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Charles E. Walton                                                         I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                         preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                 compensation and have provided the debtor with a copy of this document
     Charles E. Walton 17474
     Printed Name of Attorney for Debtor(s)
                                                                                 and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                 (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Walton Law Group, LLC                                                       pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                   bankruptcy petition preparers, I have given the debtor notice of the
                                                                                 maximum amount before preparing any document for filing for a debtor
     10905 Fort Washington Road                                                  or accepting any fee from the debtor, as required in that section. Official
     Address                                                                     Form 19 is attached.
     Suite 201
     Fort Washington, MD                           20744
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     301-292-8357
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     8/6/2015                                                                    individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.             Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                 X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                            Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                        Names and Social-Security numbers of all other individuals who prepared
                                                                                 or assisted in preparing this document unless the bankruptcy petition
                                                                                 preparer is not an individual.
 X /s/ Joseph Gaskins
     Signature of Authorized Individual

     Joseph Gaskins
     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
     Authorized Agent                                                            sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
     8/6/2015                                                                    imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                                         Case 15-20991
B6 Summary (Official Form 6 - Summary) (12/14)
                                                                      Doc 1        Filed 08/06/15              Page 4 of 24



                                            UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION
   In re Economic Development and Training Instit,                                                                           Case No.
         a Corporation                                                                                                       Chapter 7


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $                         0.00

 B-Personal Property
                                             Yes                3        $                 5,420.00

 C-Property Claimed as
   Exempt
                                              No                0

 D-Creditors Holding Secured
   Claims
                                             Yes                2                                          $                       0.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                3                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                3                                          $                       0.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                2

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                       0.00

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                       0.00

                                  TOTAL                       17         $                 5,420.00 $                              0.00
                                          Case 15-20991
B6 Summary (Official Form 6 - Summary) (12/14)                        Doc 1        Filed 08/06/15             Page 5 of 24



                                               UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF MARYLAND
                                                     GREENBELT DIVISION
   In re Economic Development and Training Instit,                                                                            Case No.
         a Corporation                                                                                                        Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $

   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $

   Student Loan Obligations (from Schedule F)                                                                     $

   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $

   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $

                                                                                                     TOTAL        $


 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $

   Average Expenses (from Schedule J, Line 22)                                                                        $

   Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1 Line 14)                     $

 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $

   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $

   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $

   4. Total from Schedule F                                                                                                                      $

   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $
                                           Case 15-20991
B6 Declaration (Official Form 6 - Declaration) (12/14)
                                                                        Doc 1         Filed 08/06/15               Page 6 of 24

In re Economic Development and Training Instit,
      a Corporation                                                                                                               Case No.
                               Debtor                                                                                                                                  (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                      DECLARATION UNDER PENALTY ON BEHALF OF A CORPORATION

      I,   Joseph Gaskins                                        ,   Authorized Agent                     of the   Corporation
      named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                   18     sheets,
      and that they are true and correct to the best of my knowledge, information, and belief.




      Date:   8/6/2015                                                         Signature   /s/ Joseph Gaskins
                                                                                  Name:    Joseph Gaskins
                                                                                  Title:   Authorized Agent

                               [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                                   (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                              Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                     Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
FORM B6A (Official Form 6A) (12/07)
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In re Economic Development and Training Instit                                                   ,                Case No.
                        Debtor(s)                                                                                                              (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


5625 Allentown Road Suitland MD 20746 Equitable Interest                                                                      $0.00               $0.00
Units    103,   105,  106,   107,   200,
201,204,205, 206, 207.    5627 Allentown
Road   Suitland   MD 20746   Units  107,
203,204 and 205




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
B6B (Official Form 6B) (12/07)
                                                   Case 15-20991     Doc 1        Filed 08/06/15              Page 8 of 24


In re Economic Development and Training Instit                                                            ,                  Case No.
                         Debtor(s)                                                                                                                               (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                        Cash                                                                                                 $520.00
                                                        Location: In debtor's possession


2. Checking, savings or other financial            X
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,             Utility Deposits                                                                                 $3,600.00
   telephone companies, landlords, and
   others.                                              Location: In debtor's possession


4. Household goods and furnishings,                X
   including audio, video, and computer
   equipment.
5. Books, pictures and other art objects,               30 Books                                                                                             $300.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or               Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                X

7. Furs and jewelry.                               X

8. Firearms and sports, photographic, and          X
   other hobby equipment.

9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)




Page       1     of      3
B6B (Official Form 6B) (12/07)
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In re Economic Development and Training Instit                                                          ,             Case No.
                         Debtor(s)                                                                                                                   (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                         Current
               Type of Property                     N            Description and Location of Property                                     Value
                                                                                                                                    of Debtor's Interest,
                                                    o                                                                 Husband--H    in Property Without
                                                                                                                          Wife--W      Deducting any
                                                    n                                                                                Secured Claim or
                                                                                                                         Joint--J
                                                    e                                                               Community--C         Exemption

12. Interests in IRA, ERISA, Keogh, or other       X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other        X
    vehicles and accessories.

26. Boats, motors, and accessories.                X

27. Aircraft and accessories.                      X

28. Office equipment, furnishings, and                  Equipment, Furnishing and Supplies 3 phones,                                         $1,000.00
    supplies.
                                                        3 computers, 5 desks, 5 chairs, 14 file
                                                        cabinets, general office supples - Printer
                                                        Location: In debtor's possession



Page       2     of      3
B6B (Official Form 6B) (12/07)
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In re Economic Development and Training Instit                                                   ,                 Case No.
                         Debtor(s)                                                                                                                    (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                   (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property              N          Description and Location of Property                                             Value
                                                                                                                                     of Debtor's Interest,
                                               o                                                                   Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                               n                                                                                      Secured Claim or
                                                                                                                      Joint--J
                                               e                                                                 Community--C             Exemption



29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of   3                                                                                      Total                            $5,420.00
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
                                          Case 15-20991                     Doc 1     Filed 08/06/15               Page 11 of 24


B6D (Official Form 6D) (12/07)



In re Economic Development and Training Instit                                                       ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated




              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien                                       Deducting Value
                                                   Co-Debtor




                  Account Number
                                                                                                                     Disputed




              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:                                                      August 6, 2015                                               X                   Unknown                           $ 0.00
                                                                 Judgment Lien
Creditor # : 1
Princeton Executive Square/
877 Old Baltimore-Annapolis Bl
Suite 101
Severna Park MD 21146

                                                                  Value:   $ 0.00
Account No:                                                                                                                                         $ 0.00                          $ 0.00

Creditor # : 2                                                   5625 Allentown Road Suitland
RREF II S B-MOVIE EDT, LLC                                       MD 20746 Units 103, 105, 106,
4118 Leonard Drive                                               107, 200, 201,204,205, 206,
Suite 200                                                        207. 5627Allentown Road
Fairfax VA                                                       Suitland MD 20746 Units 107,
                                                                 203,204 a
                                                                  Value:   $ 0.00
1      continuation sheets attached                                                                             Subtotal $                           $ 0.00                          $ 0.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
                                           Case 15-20991                  Doc 1      Filed 08/06/15                Page 12 of 24


B6D (Official Form 6D) (12/07)   - Cont.



In re Economic Development and Training Instit                                                       ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                              (Continuation Sheet)


                Creditor's Name and                           Date Claim was Incurred, Nature                                          Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                            Without                   Portion, If Any




                                                                                                                     Unliquidated
              Including ZIP Code and




                                                                                                                     Contingent
                                                              Value of Property Subject to Lien                                        Deducting Value
                                                  Co-Debtor


                  Account Number




                                                                                                                     Disputed
              (See Instructions Above.)                       H--Husband                                                                  of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:
                                                                 The Fitzpatrick Law Office PC
Representing:                                                    4118 Leonard Drive
                                                                 Suite 200
RREF II S B-MOVIE EDT, LLC                                       Fairfax VA


                                                                 Value:

Account No:




                                                                 Value:
Account No:




                                                                 Value:
Account No:




                                                                 Value:
Account No:




                                                                 Value:

Sheet no. 1        of 1      continuation sheets attached to Schedule of Creditors                              Subtotal $                           $ 0.00                          $ 0.00
Holding Secured Claims                                                                                       (Total of this page)
                                                                                                                      Total $                        $ 0.00                          $ 0.00
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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In re Economic Development and Training Instit                                                           ,                             Case No.
                           Debtor(s)                                                                                                                     (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      2 No continuation sheets attached
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In re Economic Development and Training Instit                                                                            ,                            Case No.
                           Debtor(s)                                                                                                                                         (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:          Domestic Support Obligations

     Creditor's Name, Mailing Address                                    Date Claim was Incurred and                                             Amount of     Amount       Amount not
                                                                           Consideration for Claim                                                Claim       Entitled to   Entitled to
               Including ZIP Code,                                                                                                                             Priority      Priority,




                                                                                                                                  Unliquidated
                                                                                                                                  Contingent
              and Account Number                                                                                                                                              if any

                                                     Co-Debtor




                                                                                                                                  Disputed
                                                                 H--Husband
              (See instructions above.)                          W--Wife
                                                                 J--Joint
                                                                 C--Community

Account No:                                                        August 6, 2015                                                                  Unknown $ 60,000.00
Creditor # : 1
Internal Revenue Service
PO Box 105703
Atlanta GA 30348-5703




Account No:




Account No:




Account No:




Account No:




Sheet No.                                                                                                                     Subtotal $
               1 of         2      continuation sheets                                                                  (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                        Total $
                                                                   (Use only on last page of the com pleted Schedule E. Report total also
                                                                                                             on Sum m ary of Schedules)

                                                                                                                                 Total $
                                                                      (Use only on last page of the com pleted Schedule E. If applicable,
                                                                        report also on the Statistical Sum m ary of Certain Liabilities and
Official Form 6E (04/13) - Cont.
                                            Case 15-20991                         Doc 1            Filed 08/06/15                     Page 15 of 24


In re Economic Development and Training Instit                                                                            ,                            Case No.
                           Debtor(s)                                                                                                                                         (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:          Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                    Date Claim was Incurred and                                             Amount of     Amount       Amount not
                                                                           Consideration for Claim                                                Claim       Entitled to   Entitled to
               Including ZIP Code,                                                                                                                             Priority      Priority,




                                                                                                                                  Unliquidated
                                                                                                                                  Contingent
              and Account Number                                                                                                                                              if any

                                                     Co-Debtor




                                                                                                                                  Disputed
                                                                 H--Husband
              (See instructions above.)                          W--Wife
                                                                 J--Joint
                                                                 C--Community

Account No:                                                        8.6.2015                                                                        Unknown         $ 0.00
Creditor # : 2
Prince George's County
Government
PO BOX 17575
Baltimore MD 21297



Account No:                                                        August 6, 2015                                                                  Unknown $ 18,000.00
Creditor # : 3
STATE OF MARYLAND TAX
14735 Main Street
Upper Marlboro MD 20772-9987




Account No:                                                        August 6, 2015                                                                  Unknown $ 7,400.00
Creditor # : 4
State of Maryland UMF
300 west preston st., room 500
Baltimore MD 21201




Account No:




Account No:




Sheet No.                                                                                                                     Subtotal $
               2 of         2      continuation sheets                                                                  (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                        Total $
                                                                   (Use only on last page of the com pleted Schedule E. Report total also              0.00
                                                                                                             on Sum m ary of Schedules)

                                                                                                                                 Total $
                                                                      (Use only on last page of the com pleted Schedule E. If applicable,                     85,400.00 (25,400.00)
                                                                        report also on the Statistical Sum m ary of Certain Liabilities and
                                        Case 15-20991                      Doc 1            Filed 08/06/15                    Page 16 of 24

B6F (Official Form 6F) (12/07)


In re Economic Development and Training Instit                                                                   ,                                   Case No.
                           Debtor(s)                                                                                                                                                                   (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                         Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                   Unliquidated
                  including Zip Code,
                                                       Co-Debtor




                                                                                                                                                     Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                  Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          4352
Account No:                                                            August 6, 2015                                                                                                                  Unknown
Creditor # : 1
American Prop. Andrew Manor                                            EDTI IS COSIGNER TO: CRAWFORD
4733 Bethesda ,Ste 500
4733 Bethesda ,Ste 500                                                 SEAFOOD, LLC RENT ARREARAGE
Bethesda MD 20814


          4351
Account No:                                                            August 6, 2015                                                                                                                  Unknown
Creditor # : 2
American Prop. at Andrew Manor                                         COSIGNER TO: UNIVERSLA NETWORK OF
4733 Bethesda Ave.
4733 Bethesda Ave.                                                     AQUACULTURE PRODUCTS, INC. - RENT
Bethesda MD 20814                                                      ARREAGAGE (UNAP)



Account No:                                                                                                                                                                                             $ 0.00
Creditor # : 3
Baltimore Washington Labors'
District Council
50 Carroll Creekway
Suite 340
Frederick Maryland 21707

     2 continuation sheets attached                                                                                                                Subtotal $                                           $ 0.00
                                                                                                                                                                  Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                                           Case 15-20991                    Doc 1            Filed 08/06/15                    Page 17 of 24

B6F (Official Form 6F) (12/07)   - Cont.


In re Economic Development and Training Instit                                                                    ,                                   Case No.
                           Debtor(s)                                                                                                                                                                    (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                         Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:

Representing:                          Ian P. Bartman
                                       50 Carroll Creekway
                                       Suite 340
                                       Frederick Maryland 21707
Baltimore Washington Labors' District Council



          9769
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 4
Horizon Power & Light
800 Bering Drive, Ste. 250
800 Bering Drive, Ste. 250
Houston TX 77057


Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 5                                                          Credit Card Purchases
Lowes
PO Box 1111
North Wilkesboro NC 28656



          1130
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 6
Severn Savings Bank, FSB
P.O. Box 6679
P.O. Box 6679
Annapolis MD 21401


          0003
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 7
Severn Savings Bank, FSB
P.O. Box 6679
P.O. Box 6679
Annapolis MD 21401




Sheet No.      1 of        2 continuation sheets attached to Schedule of                                                                            Subtotal $                                           $ 0.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                                           Case 15-20991                    Doc 1            Filed 08/06/15                    Page 18 of 24

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In re Economic Development and Training Instit                                                                    ,                                   Case No.
                           Debtor(s)                                                                                                                                                                    (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                         Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                    Unliquidated
                  including Zip Code,

                                                        Co-Debtor




                                                                                                                                                      Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                   Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0232
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 8
Severn Savings Bank, FSB
P.O. Box 6679
P.O. Box 6679
Annapolis MD 21401


          1126
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 9
Severn Savings Bank, FSB
P.O. Box 6679
P.O. Box 6679
Annapolis MD 21401


          0228
Account No:                                                             August 8 2008                                                                                                                   Unknown
Creditor # : 10
Severn Savings Bank, FSB
P.O. Box 6679
P.O. Box 6679
Annapolis MD 21401


          1138
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 11
Severn Savings Bank, FSB
P.O. Box 6679
Annapolis MD 21401



          5263
Account No:                                                             August 6, 2015                                                                                                                  Unknown
Creditor # : 12                                                         Credit Card Purchases
The Home Depot
PO Box 6029

The Lakes NV 88901-6029




Sheet No.      2 of        2 continuation sheets attached to Schedule of                                                                            Subtotal $                                           $ 0.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                          $ 0.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                              Case 15-20991      Doc 1     Filed 08/06/15           Page 19 of 24

                                 UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MARYLAND
                                         GREENBELT DIVISION


In re Economic Development and Training Instit,                                           Case No.
      a Corporation                                                                       Chapter 7
                                                                         / Debtor
    Attorney for Debtor:   Charles E. Walton




                                   COVER SHEET FOR LIST OF CREDITORS



                                                                                                       3
   I hereby certify under penalty of perjury that the attached list of creditors, which consists of __________ pages,

   is true, correct and complete to the best of my knowledge.




Date: 8/6/2015                                                   /s/ Joseph Gaskins
                                                                 Debtor


/s/ Charles E. Walton
Charles E. Walton
Attorney for the debtor(s)
10905 Fort Washington Road
Suite 201
Fort Washington, MD 20744
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       American Prop. Andrew Manor
       4733 Bethesda ,Ste 500
       4733 Bethesda ,Ste 500
       Bethesda, MD 20814


       American Prop. at Andrew Manor
       4733 Bethesda Ave.
       4733 Bethesda Ave.
       Bethesda, MD 20814


       Baltimore Washington Labors' District Co
       50 Carroll Creekway
       Suite 340
       Frederick , Maryland 21707


       Horizon Power & Light
       800 Bering Drive, Ste. 250
       800 Bering Drive, Ste. 250
       Houston, TX 77057


       Ian P. Bartman
       50 Carroll Creekway
       Suite 340
       Frederick , Maryland   21707


       Internal Revenue Service
       PO Box 105703
       Atlanta, GA 30348-5703


       Internal Revenue Service
       Special Procedures Unit
       PO Box 1076
       PNI Unit
       Baltimore, MD 21203


       Lowes
       PO Box 1111
       North Wilkesboro, NC   28656
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       Maryland Comptroller of the Treasury
       Retail Sales Tax Division
       State Office Building
       301 W Preston St
       Baltimore, MD 21201


       Prince George's County Government
       PO BOX 17575
       Baltimore, MD 21297


       RREF II S B-MOVIE EDT, LLC
       4118 Leonard Drive
       Suite 200
       Fairfax, VA


       Severn Savings Bank, FSB
       P.O. Box 6679
       P.O. Box 6679
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       Upper Marlboro, MD 20772-9987


       State of Maryland UMF
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                                                UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND


In re:      Economic Development and Training                                                              Case No.
            Instit                                                                                         Chapter       7




                                        BUSINESS INCOME AND EXPENSES
          FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)


PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                             $


PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income:                                                                                   $


PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                         $
          4. Payroll Taxes
          5. Unemployment Taxes
          6. Worker's Compensation
          7. Other Taxes
          8. Inventory Purchases (Including raw materials)
          9. Purchase of Feed/Fertilizer/Seed/Spray
         10. Rent (Other than debtor's principal residence)
         11. Utilities
         12. Office Expenses and Supplies
         13. Repairs and Maintenance
         14. Vehicle Expenses
         15. Travel and Entertainment
         16. Equipment Rental and Leases
         17. Legal/Accounting/Other Professional Fees
         18. Insurance
         19. Employee Benefits (e.g., pension, medical, etc.)



         20. Payments to Be Made Directly By Debtor to Secured Creditors For
             Pre-Petition Business Debts (Specify):
                                                                                              $




         21. Other (Specify)
                                                                                              $




         22. Total Monthly Expenses                                                                                  $


PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:


         23. AVERAGE NET MONTHLY INCOME (Subtract Item 22 from Item 2)                                               $




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                         UNITED STATES BANKRUPTCY COURT
                    FOR THE          DISTRICT OF MARYLAND


       In re    Economic Development and Training Instit, a Corporation


                                                                                            Case No.
                                                                                            Chapter 7
                                                                                           / Debtor



                              STATEMENT REGARDING CORPORATE RESOLUTION

        The undersigned is Executive Director of the Econoof Economic Development and , a corporation. On August 6, 2015the following
resolution was duly adopted by the            Board of Directors        of this corporation.


       "WHEREAS, it is in the best interests of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code:

        "NOW, THEREFORE, BE IT RESOLVED, that the board or directors, of this corporation, be and hereby is, authorized
and directed to execute and deliver all documents necessary to perfect the filing of a Chapter 7 voluntary bankruptcy
case in the United States Bankruptcy Court on behalf of the corporation; and

       "BE IT FURTHER RESOLVED, that oard of Directors , of this corporation, be and hereby is, authorized and directed
to appear in all such bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform any and all
acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
said bankruptcy proceedings; and

       "BE IT FURTHER RESOLVED, that oard of Directors a, of this corporation, be and hereby is, authorized and directed to
employ Charles E. Walton , Attorney and the law firm of Walton Law Group, LLC , to represent the corporation in said bankruptcy
proceedings."



               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION

   I, Joseph Gaskins Exe, of the corporation named as debtor in this case, declare under penalty of perjury that I have read the
foregoing resolution and it is true and correct to the best of my knowledge, information, and belief.



Date              8-6-2015                          Signature
                                                                 Economic Development and Training Instit
